        Case 16-62019-bem                     Doc       Filed 11/04/19 Entered 11/04/19 17:55:10                              Desc Main
 Fill in this information to identify the case:          Document     Page 1 of 5
 Debtor 1          Amy   Elizabeth Barnes
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Northern District
                                         __________        of Georgia
                                                      District of __________

 Case number           16-62019-bem
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                   U.S. Bank Trust National Association, as trustee of
                   Bungalow Series F Trust
 Name of creditor: _______________________________________                                                      7-1
                                                                                    Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                             Date of payment change:
 identify the debtor’s account:                          0 ____
                                                        ____ 5 ____
                                                                5 ____
                                                                    0               Must be at least 21 days after date        12/01/2019
                                                                                                                               _____________
                                                                                    of this notice


                                                                                    New total payment:                                 514.08
                                                                                                                               $ ____________
                                                                                    Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     154.78
                   Current escrow payment: $ _______________                      New escrow payment:                   159.57
                                                                                                              $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:       _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                            page 1
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Debtor 1         Amy   Elizabeth Barnes
                 _______________________________________________________                                          16-62019-bem
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.
     ✔
          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 /s/ Michelle R. Ghidotti-Gonsalves
     _____________________________________________________________
     Signature
                                                                                               Date    11/04/2019
                                                                                                       ___________________




 Print:             Michelle  R. Ghidotti-Gonsalves
                    _________________________________________________________                  Title   Authorized Agent for Secured
                                                                                                       ___________________________    Creditor
                    First Name                      Middle Name         Last Name



 Company            Ghidotti | Berger LLP
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                        CA     92705
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      (949) 427-2010
                    ________________________                                                         mghidotti@ghidottiberger.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2

     Print                              Save As...                       Add Attachment                                                      Reset
                                                                                                                                PAGE 1 OF 2
            Case 16-62019-bem                Doc         Filed 11/04/19 Entered 11/04/19 17:55:10 Desc Main
                                                          Document     Page 3 of 5       Annual Escrow Account
                                                                                          Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                                 ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                              004     1461800550_ESCROWDISCSTMT_191022

                                                                                        DATE: 10/22/19

                                                   346
              AMY BARNES                                                               PROPERTY ADDRESS
              886 WANDA CIR SW                                                         886 WANDA CIR SW
              MARIETTA, GA 30008                                                       MARIETTA, GA 30008



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 12/01/2019
THROUGH 11/30/2020.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 12/01/2019 TO 11/30/2020 ---------
HOMEOWNERS INS                                                 $1,078.00
COUNTY TAX                                                        $836.84
TOTAL PAYMENTS FROM ESCROW                                     $1,914.84
MONTHLY PAYMENT TO ESCROW                                         $159.57
          ------ ANTICIPATED ESCROW ACTIVITY 12/01/2019 TO 11/30/2020 ---------
                   ANTICIPATED PAYMENTS                                                              ESCROW BALANCE COMPARISON
MONTH         TO ESCROW              FROM ESCROW                  DESCRIPTION                 ANTICIPATED                   REQUIRED

                                                          STARTING BALANCE -->                  $861.30                      $758.86
DEC               $159.57                                                                     $1,020.87                      $918.43
JAN               $159.57                                                                     $1,180.44                    $1,078.00
FEB               $159.57                                                                     $1,340.01                    $1,237.57
MAR               $159.57                 $1,078.00 HOMEOWNERS INS                       L1->   $421.58               L2->   $319.14
APR               $159.57                                                                       $581.15                      $478.71
MAY               $159.57                                                                       $740.72                      $638.28
JUN               $159.57                                                                       $900.29                      $797.85
JUL               $159.57                                                                     $1,059.86                      $957.42
AUG               $159.57                                                                     $1,219.43                    $1,116.99
SEP               $159.57                                                                     $1,379.00                    $1,276.56
OCT               $159.57                    $836.84 COUNTY TAX                                 $701.73                      $599.29
NOV               $159.57                                                                       $861.30                      $758.86
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $102.44.
                                              CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                              $354.51
ESCROW PAYMENT                                                                               $159.57
NEW PAYMENT EFFECTIVE 12/01/2019                                                             $514.08
YOUR ESCROW CUSHION FOR THIS CYCLE IS $319.14.




                                        ********** Continued on reverse side ************




                          IF YOUR SURPLUS IS $50 OR GREATER, BSI FINANCIAL SERVICES WILL
                          SEND YOU A REFUND CHECK, PROVIDED YOUR LOAN IS CURRENT.

                          IF YOUR SURPLUS IS LESS THAN $50, THE FUNDS WILL REMAIN IN
                          YOUR ESCROW ACCOUNT.




Licensed as Servis One, Inc. dba BSI Financial Services. BSI Financial Services NMLS# 38078. Colorado Office Location: 7200 S. Alton Way, Ste.
B180, Centennial, CO 80112 (303) 309-3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (#
2001485-DCA). North Carolina Collection Agency Permit (# 105608).
                                                                                                                                                                                                  PAGE 2 OF 2
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                                                                  ********** Continued   Page 4 of
                                                                                           front   5
                                                                                                 **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 12/01/2018 AND ENDING 11/30/2019. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 12/01/2018 IS:
   PRIN & INTEREST                                                                                                                           $354.51
   ESCROW PAYMENT                                                                                                                            $154.78
   BORROWER PAYMENT                                                                                                                          $509.29
                       PAYMENTS TO ESCROW                                       PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                     ACTUAL                     DESCRIPTION                  PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                                  $0.00                    $4,942.56-
   DEC                 $0.00                     $449.75           *                                                                                               T->              $0.00          A->       $4,492.81-
   JAN                 $0.00                     $449.75           *                                                                                                                $0.00                    $4,043.06-
   FEB                 $0.00                   $1,349.25           *                                       $1,078.00 * HOMEOWNERS INS                                               $0.00                    $3,771.81-
   MAR                 $0.00                     $449.75           *                                                                                                                $0.00                    $3,322.06-
   APR                 $0.00                     $449.75           *                                                                                                                $0.00                    $2,872.31-
   MAY                 $0.00                     $449.75           *                                                                                                                $0.00                    $2,422.56-
   JUN                 $0.00                     $449.75           *                                                                                                                $0.00                    $1,972.81-
   JUL                 $0.00                     $449.75           *                                                                                                                $0.00                    $1,523.06-
   AUG                 $0.00                     $449.75           *                                                                                                                $0.00                    $1,073.31-
   SEP                 $0.00
                  __________                     $604.53
                                              __________           *         __________                      $836.84 * COUNTY TAX
                                                                                                          __________                                                                $0.00                    $1,305.62-
                           $0.00                $5,551.78                             $0.00                $1,914.84


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $0.00. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $4,492.81-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

  Determining your Shortage or Surplus
  Shortage:
   .
  Any shortage in your escrow account is usually caused by one the following items:
   . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
   . A projected increase in taxes for the upcoming year.
     The number of months elapsed from the time of these disbursements to the new payment effective date.
  Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
  shortage can be paid either partially or in full.
  Surplus:
   .
  A surplus in your escrow account is usually caused by one the following items:
   .  The insurance/taxes paid during the past year were lower than projected.
   .  A refund was received from the taxing authority or insurance carrier.
      Additional funds were applied to your escrow account.
  If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
  run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
  your escrow account.




If you have filed a bankruptcy petition and there is either an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we
may not and do not intend to pursue collection of that obligation from you personally. If these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally.
Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired
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                                    CERTIFICATE OF SERVICE
      On November 4, 2019, I served the foregoing documents described as Notice of Mortgage
Payment Change on the following individuals by electronic means through the Court’s ECF program:
        COUNSEL FOR DEBTOR
        Howard P. Slomka
        se@myatllaw.com

        TRUSTEE
        Mary Ida Townson
        courtdailysummary@atlch13tt.com

        INTERESTED PARTY’S COUNSEL
        Mallory Velten
        mallory.velten@brockandscott.com


        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Evan Tragarz
                                                          Evan Tragarz


        On November 4, 2019, I served the foregoing documents described as Notice of Mortgage
Payment Change on the following individuals by depositing true copies thereof in the United States mail
at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:


 Debtor
 Amy Elizabeth Barnes
 886 Wanda Circle SW
 Marietta, GA 30008


        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                         /s/ Evan Tragarz
                                                         Evan Tragarz
